                             IN THE DISTRICT COURT OF THE UNITED STATES
                            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                         CHARLOTTE DIVISION

                                      Case Number: 3:20-cv-00504-MOC-WCM


                CPI Security Systems, Inc.                       )
                                                                 )
                                                                 )
                                                                 )
                                     vs.                         )                    ORDER
                                                                 )
                Vivint Smart Home, Inc. et al                    )
                                                                 )
                                                                 )
                                                                 )




                       The parties are hereby directed to maintain all exhibits offered and admitted in the above

              entitled case by either party during, following trial and appeal period; including maintaining

              them in a manner and format facilitating efficient distribution in the event of a request for access

              to trial exhibits from the media or other member of the public; and

                       IT IS ORDERED that the Clerk is hereby relieved of all responsibility for said exhibits.


Signed: September 7, 2023




                    Case 3:20-cv-00504-MOC-WCM Document 192 Filed 09/07/23 Page 1 of 1
